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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

RODRIGO ARREOLA, as parent                   *
of Hector Arreola, Deceased, and             *
as Personal Representative and               *
Administrator of the Estate of Hector        *
Arreola, CONCEPCION ARREOLA,                 *
as parent of Hector Arreola, and S.A.,       *
minor child of Hector Arreola, by            *
next friend Jezreel Imee Custodio,           *
                                             *
       Plaintiffs,                           *
                                             *
v.                                           *    Civil Action File Number:
                                             *    4:19-cv-00005-CDL
THE CONSOLIDATED                             *
GOVERNMENT OF COLUMBUS,                      *
GEORGIA, OFFICER MICHAEL                     *
AGUILAR, in his individual and               *
official capacity, OFFICER BRIAN             *
DUDLEY, in his individual and                *
official capacity, OFFICER                   *
AARON EVRARD, in his individual              *
and official capacity,                       *
                                             *
       Defendants.                           *

     DEFENDANTS’ RENEWED MOTION FOR SUMMARY JUDGMENT

       In accordance with Fed.R.Civ.P. 56 and Local Rule 56, The Consolidated

Government of Columbus, Georgia (“CCG”), Officer Michael Aguilar, in his

individual and official capacity (“Officer Aguilar”), Officer Brian Dudley, in his

individual and official capacity (“Officer Dudley”), and Officer Aaron Evrard, in




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his individual and official capacity (“Officer Evrard”) (collectively “Defendants”) 1,

submit this Renewed Motion for Summary Judgment, respectfully showing the

Court the following:

                                          1.

      In accordance with this Court’s Scheduling and Discovery Order dated April

17, 2019, as modified by the Court’s text order dated March 9, 2020 [Doc. No. 32]

and the Court’s text ordered dated July 7, 2020 [Doc. no. 34], Defendants hereby

move for summary judgment on all claims against the CCG, and all claims against

Officers Aguilar, Dudley, and Evrard in their official and individual capacities.2

                                          2.

      The pleadings, admissions, depositions, and affidavits show that there is no

genuine issue of material fact and Defendants are entitled to judgment as a matter

of law on all remaining claims in this case.




1
 As recognized by the Court’s summary judgment order dated March 3, 2020 [Doc.
no. 30], Plaintiffs have withdrawn all claims in this case against Richard T. Boren,
and the Court has granted summary judgment to Richard T. Boren on these claims.
[Doc. no. 30, n. 1].
2
 As recognized by the Court’s summary judgment order dated March 3, 2020 [Doc.
no. 30], Plaintiffs have withdrawn all state law claims against the Defendants, and
the Court has granted summary judgment to Defendants on these claims. [Doc. no.
30, n. 1].

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     WHEREFORE, Defendants respectfully request that the Court inquire into

and grant their Renewed Motion for Summary Judgment.

     Respectfully submitted, this 7th day of August, 2020.

                                    PAGE, SCRANTOM, SPROUSE,
                                    TUCKER & FORD, P.C.

                                    By: /s/ Alan G. Snipes
                                           James C. Clark, Jr.
                                           Ga. State Bar No.: 127145
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                                           Alan G. Snipes
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                                    By: /s/ Clifton C. Fay
                                           Clifton C. Fay
                                           Georgia Bar No.: 256460
                                           Lucy T. Sheftall
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                                           Columbus, Georgia 31902

                                    Counsel for Defendants




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                        CERTIFICATE OF SERVICE

      I do hereby certify that I am counsel for Defendants and that on this date I

served the foregoing document, Defendants’ Renewed Motion for Summary

Judgment through the Court’s CM/ECF system, which will ensure delivery to the

following::

                  Mark C. Post
                  Mark Post Law, LLC
                  3 Bradley Park Ct., Ste. F
                  Columbus, Georgia 31904
                  mpost@markpostlaw.com

      This 7th day of August, 2020.

                                            /s/ Alan G. Snipes
                                            Counsel for Defendants




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